
It is ordered and adjudged by this court, that the judgment of said circuit court be, and the same hereby is, reversed for that it appears from the record in this cause that upon the issue joined in the original action between the city of Findlay and Maud Carlin, Rawson Carlin, and Earle Carlin, the common pleas court entered a final judgment in favor of said Maud Carlin, Rawson Carlin, and Earle Carlin, and that said judgment is still in full force and effect and conclusive upon the city of Findlay as to all issues joined in said cause between the city of Findlay and Maud Carlin, Raw-son Carlin, and Earle Carlin; it further appears from -this record that the issue as to who is entitled to receive the rents of the property described in the petition under the will of Bass Rawson was the direct issue made by the petition of the city of Findlay, the answer of Maud Carlin, Rawson Carlin, and Earle Carlin, and the reply of the city of Findlay thereto; that the plaintiff in error made no claim to said rents and made no claim of right to receive the same except as the agent of Maud Carlin, Rawson Carlin, and Earle Carlin; and that said common pleas court having adjudicated said issue in favor of Maud Carlin, Raw-son Carlin, and Earle Carlin, the said S. Kate Carlin was entitled as matter of law to judgment in her favor dismissing her from said suit with costs; the issue being res ad judicata as to her *494principal it was res adjudicata as to her as agent of said principal. And this court coming now to render the judgment which said common pleas court should have rendered,
It is hereby ordered and adjudged that said petition of the city of Findlay against S. Kate Carlin be and the same is hereby dismissed.
Davis, C. J., Spear, Shauck, Johnson, Donahue and O’Hara, JJ., concur.
